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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )   CR. S-07-0515 WBS
12                Plaintiff,          )
                                      )   STIPULATION AND [PROPOSED] ORDER
13                                    )   CONTINUING STATUS CONFERENCE AND
          v.                          )   EXCLUDING TIME
14                                    )
     JORGE CHAVEZ, et al.,            )
15                                    )
                  Defendants.         )   Hon. William B. Shubb
16                                    )
17
18        The parties request that the status conference currently set
19   for March 23, 2009, be continued to March 30, 2009 and stipulate
20   that the time beginning March 23, 2009, and extending through
21   March 30, 2009, should be excluded from the calculation of time
22   under the Speedy Trial Act.    The parties submit that the ends of
23   justice are served by the Court excluding such time, so that
24   counsel for each defendant may have reasonable time necessary for
25   effective preparation, taking into account the exercise of due
26   diligence.    18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4.
27        The parties are in the process of discussing and negotiating
28   the various plea offers in this case.      Each defendant will need

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 1   time to consider his or her offer in light of the discovery.           As
 2   such, the attorneys for each defendant need more time to review
 3   the discovery in this case, discuss that discovery with their
 4   respective clients, consider new evidence that may affect the
 5   disposition of this case, conduct necessary legal research and
 6   investigation, and then discuss with their clients how to
 7   proceed.   The parties stipulate and agree that the interests of
 8   justice served by granting this continuance outweigh the best
 9   interests of the public and the defendants in a speedy trial.          18
10   U.S.C. § 3161(h)(8)(A).
11                                           Respectfully Submitted,
12                                           LAWRENCE G. BROWN
                                             Acting United States Attorney
13
14   Dated: March 13, 2009               By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
15                                          Assistant U.S. Attorney
16
     Dated: March 13, 2009               By:/s/ Thomas A. Johnson
17                                          THOMAS A. JOHNSON
                                            Attorney for defendant
18                                          Armando Chavez
19
     Dated: March 13, 2009               By:/s/ Michael B. Bigelow
20                                          MICHAEL B. BIGELOW
                                            Attorney for defendant
21                                          Alex Hernandez
22
     Dated: March 13, 2009               By:/s/ Daniel M. Davis
23                                          DANIEL M. DAVIS
                                            Attorney for defendant
24                                          Juan Villa, Jr.
25   ///
26   ///
27   ///
28   ///

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 1   Dated: March 13, 2009              By:/s/ Hayes H. Gable
                                           HAYES H. GABLE, III
 2                                         Attorney for defendant
                                           Jamie Jiminez
 3
 4   Dated: March 13, 2009              By:/s/ Kresta N. Daly
                                           KRESTA N. DALY
 5                                         Attorney for defendant
                                           Maricella Villa
 6
 7
 8                                    ORDER
 9        For the reasons stated above, the status conference in case
10   number CR. S-07-0515 WBS, currently set for March 23, 2009, is
11   continued to March 30, 2009 at 8:30 a.m.; and the time beginning
12   March 23, 2009, and extending through March 30, 2009, is excluded
13   from the calculation of time under the Speedy Trial Act for
14   effective defense preparation.     The Court finds that interests of
15   justice served by granting this continuance outweigh the best
16   interests of the public and the defendants in a speedy trial.         18
17   U.S.C. § 3161(h)(8)(A) and (B)(iv).
18
19   IT IS SO ORDERED.
20
21   Dated:   March 16, 2009
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